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12
                                  UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                            SAN JOSE DIVISION
15

16
     APPLE INC., a California corporation,                       Case No.     11-cv-01846-LHK
17
                           Plaintiff,                            DECLARATION OF KARAN
18                                                               SINGH, PH.D., IN SUPPORT OF
            v.                                                   APPLE’S REPLY IN SUPPORT
19                                                               OF ITS MOTION FOR A
     SAMSUNG ELECTRONICS CO., LTD., A                            PERMANENT INJUNCTION
20   Korean business entity; SAMSUNG                             AND FOR DAMAGES
     ELECTRONICS AMERICA, INC., a New York                       ENHANCEMENTS
21   corporation; SAMSUNG
     TELECOMMUNICATIONS AMERICA, LLC, a
22   Delaware limited liability company,
23                         Defendants.
24

25                                  PUBLIC REDACTED VERSION
26

27

28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S REPLY ISO PERMANENT INJUNCTION MOTION
     Case No. 11-cv-01846-LHK
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 1   I, KARAN SINGH, do hereby declare as follows:
 2
            1.      I have personal knowledge of the facts set forth herein, and am competent to
 3
     testify to the same.
 4
            2.      I previously testified at deposition and at trial in this matter. I also submitted an
 5
     Expert Infringement and Rebuttal Report, as well as a Declaration opposing Samsung’s pre-trial
 6
     summary judgment motion.
 7
            3.      I submit this Declaration in support of Apple’s Reply In Support of its Motion for
 8
     a Permanent Injunction and for Damages Enhancement.
 9
            4.      I reserve the right to supplement or amend this Declaration based on any new
10
     information that is relevant to my opinion.
11
            5.      Below I provide a very brief summary of my qualifications. I received my
12
     Bachelor of Technology degree in Computer Science from the Indian Institute of Technology in
13
     1991. I was awarded a Master of Science degree in 1992, and a Ph.D. in 1995, both in Computer
14
     and Information Science, from Ohio State University. Since 2002, I have been a Professor (or
15
     Associate Professor) of Computer Science at the University of Toronto where I co-direct a
16
     graphics and human computer interaction laboratory, dynamic graphics project. I can read and
17
     program fluently in object-oriented programming languages, including C++ and Java.
18
     II.    MATERIALS CONSIDERED
19
            6.      In forming my opinions in this Declaration, I reviewed a number of materials,
20
     including U.S. Patent Nos. 7,844,915 (the ’915 Patent) as well as its file history, and relevant
21
     portions of the record in this case to date. I reviewed Mr. Gray’s Declaration In Support of
22
     Samsung’s Opposition to Apple’s Motion for a Permanent Injection and Damages Enhancement
23
     (“Gray Decl.”). I also reviewed Mr. Gray’s Declaration In Support of Samsung’s Motion for
24
     Summary Judgment, Mr. Gray’s Expert Invalidity and Rebuttal Reports, and his deposition and
25
     trial testimony.
26
            7.      I examined the “modified” source code for the Web Browser application made
27
     available by Samsung at Quinn Emanuel’s office. I understand that Samsung represents that this
28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S REPLY ISO PERMANENT INJUNCTION MOTION
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 1   code is from Samsung Android version 4.0.4, Baseband Version T989UVL11, Kernel version
 2   3.0.8, and Build number IMM76D.UVL11. For ease of reference, I will refer to this code as the
 3   “modified code.” I also examined a Samsung Galaxy S III (T-Mobile) phone and a video of a
 4   Samsung Galaxy S II (T-Mobile) phone that I understand were running Samsung’s modified
 5   code.
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19           9.     During my visit to Quinn Emanuel’s offices to review the modified code, I noticed
20   that Samsung failed to provide a full code tree or folder as it would typically be kept in
21   Samsung’s ordinary course of business. Samsung instead appears to have provided only a subset
22   of source code files in folders created by attorneys. This stands in contrast to my prior reviews of
23   Samsung code in this litigation, in which a full code tree was provided. The lack of a code tree
24   makes it more difficult to determine the context of code and to identify missing files.
25   Notwithstanding this additional challenge, it is my opinion that the modified code I reviewed
26   demonstrates continuing infringement of the ’915 patent.
27

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 1   III.   SAMSUNG’S MODIFIED CODE LITERALLY INFRINGES THE ’915 PATENT
 2          10.     I understand that Mr. Gray’s Declaration only asserts that the modified code does

 3   not meet element [c] of claim 8 of the ’915 patent, as highlighted below.

 4                  Claim 8. A machine readable storage medium storing executable
                    program instructions which when executed cause a data processing
 5                  system to perform a method comprising:
 6                  [a] receiving a user input, the user input is one or more input points
                    applied to a touch-sensitive display that is integrated with the data
 7                  processing system;
 8                  [b] creating an event object in response to the user input;
 9                  [c] determining whether the event object invokes a scroll or
                    gesture operation by distinguishing between a single input point
10                  applied to the touch-sensitive display that is interpreted as the
                    scroll operation and two or more input points applied to the
11                  touch-sensitive display that are interpreted as the gesture
                    operation
12
                    [d] issuing at least one scroll or gesture call based on invoking the
13                  scroll or gesture operation;
14                  [e] responding to at least one scroll call, if issued, by scrolling a
                    window having a view associated with the event object;
15
                    [f] responding to at least one gesture call, if issued, by scaling the
16                  view associated with the event object based on receiving the two or
                    more input points in the form of the user input.
17
            11.     My observations and analysis show that the modified code continues to infringe
18
     the preamble and all limitations of claim 8. Because Samsung’s Opposition Brief and Mr. Gray’s
19
     Declaration do not contest that Samsung devices with the modified code infringe the preamble or
20
     the limitations Mr. Gray had labeled as [a], [b], [d], [e] and [f], but instead challenge only
21
     whether the Galaxy S II (T-Mobile) running the modified code meets limitation [c], I will focus
22
     on that limitation rather than reiterate all of the reasons why the other limitations are present in
23
     the modified code.
24
     IV.    BACKGROUND
25
            12.     As Mr. Gray states in his Declaration, at trial I testified that various Samsung
26
     devices infringe the ’915 patent. In explaining the test for determining whether the event object
27
     invokes a scrolling operation or a gesture operation, I referred to demonstratives numbered PDX
28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S REPLY ISO PERMANENT INJUNCTION MOTION
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 1   29.12 and PDX 29.13, reproduced below, to illustrate the operation of Samsung’s Android
 2   versions 2.1, 2.2, and 2.3:
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25          13.     I also testified at trial that the Galaxy Tab 10.1 infringes the ’915 patent, and

26   explained that its Android 3.1 code is structured a bit differently than the code on the other

27   Samsung Accused Products I analyzed at trial. The Android 3.1 logic allows for a more complex

28
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 1   “gesture transform” that simultaneously scales and translates the view. My testimony on that
 2   topic appears below for reference:
 3                  The Samsung Galaxy Tab 10.1 also infringes this claim, but for the
                    purposes of claim – for elements C and D, it’s structured a little bit
 4                  differently . . . . As you can see on [slide PDX 29.14], the schematic
                    of the source code, it’s virtually – it’s very similar. And for the
 5                  purposes of these claims, it’s actually identical.
 6                  You still have the motion event object causing this all-important
                    test of one finger input or two or more fingers with inputs, so you
 7                  still have the logical test. You still have the branching taking place
                    in the code, and going down the scroll part results in a scroll call.
 8                  Eventually it results in a scroll operation. Going down the gesture
                    box essentially results in a gesture call and then the corresponding
 9                  gesture operation.
10                  This logic that you see actually allows the Galaxy Tab 10.1 to
                    perform what you can think of as a more complex gesture transform
11                  where it simultaneously scales and translates the view. If you go
                    back to that picture of a bicycle and imagine your fingers are down
12                  on the wheels of the bicycle and now you’re going to start to move
                    your fingers around, moving – spreading them apart will scale the
13                  bicycle. But you also want to move it so that your fingers remain
                    on the bicycle. If you don’t move with it, simultaneously, all of a
14                  sudden your bicycle is off in space and it’s bigger but it doesn’t
                    have that direct feel. And that direct feel is what the Apple
15                  products provide.
16                  Of the 24 infringing devices, only the – over here with this code,
                    only the Samsung Galaxy Tab 10.1 kind of provides this, this – it
17                  makes it more like the Apple products.
18   (Trial Tr. 1826:2-1827:17.)
19          14.     During my testimony, I referred to the following demonstrative of the Galaxy Tab
20   10.1 code.
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     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S REPLY ISO PERMANENT INJUNCTION MOTION
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            15.     I understand that Mr. Gray testified at trial that some Samsung products did not
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     infringe because they performed two-finger scrolling. He stated: “[T]he patent calls for
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     distinguishing between . . . a multipoint scale and a single point scroll. What I was able – what
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     I’ve observed is that some of the devices do perform multipoint scrolling which, again, is contrary
16
     to the way the . . . patent claims operate.” (Trial Tr. 2912:12-19.) I testified at trial that the
17
     Android 3.1 code performs a two finger compound gesture operation that includes both scaling
18
     and translating.
19
            16.     I understand that the jury determined that 21 of 24 accused products infringed the
20
     ’915 patent. In finding infringement by the Galaxy Tab 10.1 (wifi) (JX1037), which runs the
21
     Android 3.1 code illustrated in PDX 29.14, the jury agreed that a device that performs two finger
22
     scrolling along with scaling still infringes the ’915 patent. In doing so, the jury implicitly rejected
23
     Mr. Gray’s non-infringement argument.
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            17.     Mr. Gray’s Declaration omits my testimony and demonstratives relating to the
25
     Galaxy Tab 10.1 running Android version 3.1.
26

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28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S REPLY ISO PERMANENT INJUNCTION MOTION
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 4   Copies of the pages from Mr. Gray’s deposition transcript that I cite are attached to the Hung
 5   Declaration as Exhibit 17.
 6          18.     I also note that Mr. Gray previously submitted a Declaration in support of
 7   Samsung’s pre-trial summary judgment motion. There, Mr. Gray alleged that the MotionEvent
 8   object did not “invoke” a scroll or gesture operation. I understand that Mr. Gray interpreted the
 9   term “invoke” to require that the event object itself must call a scroll or gesture operation directly,
10   with no intervening steps. I submitted a Declaration disagreeing with Mr. Gray, as his
11   interpretation was inconsistent with the ’915 patent specification.
12          19.     I understand that the Court denied Samsung’s motion for summary judgment and
13   instead agreed with me in construing “invokes” to mean “causes” or “causes a procedure to be
14   carried out.” (Dkt. No. 1158.) Thus, the event object was not required to directly call a function.
15          20.     Mr. Gray’s Declaration appears to rely upon earlier arguments that were rejected
16   by the jury or this Court.
17

18                                                                                        This is the same
19   argument that the jury implicitly rejected in finding that the Galaxy Tab 10.1 infringes claim 8 of
20   the ’915 patent.
21          21.     Mr. Gray fails to analyze the code in sufficient detail to explain why the modified
22   code purportedly does not infringe.
23

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27          22.     Similarly, Mr. Gray asserts that
28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S REPLY ISO PERMANENT INJUNCTION MOTION
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 3   V.     SAMSUNG’S MODIFIED CODE STILL LITERALLY INFRINGES THE ’915
            PATENT
 4
            23.     In my opinion, Samsung products with the modified code still literally infringe the
 5
     ’915 patent. These products continue to determine whether an event object invokes a scroll or
 6
     gesture operation by distinguishing between a single input point (one finger) applied to the touch-
 7
     sensitive display that is interpreted as the scroll operation and two or more input points (more
 8
     than one finger) applied to the touch-sensitive display that are interpreted as the gesture operation.
 9
            24.     I examined the Web Browser application in a Samsung Galaxy S III (T-Mobile)
10
     phone that runs the modified Android 4.0.4 software. Using this device, I observed the exact
11
     same infringing behavior as in the old code. I scrolled web pages using one finger and zoomed in
12
     and out of web pages using two fingers. Attached as Exhibit A is a video of a Samsung Galaxy S
13
     II (T-Mobile) running the modified code that demonstrates this effect.
14

15
     Operation of the device demonstrates that the device still distinguishes between a single input
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     point (one finger) and two or more input points (more than one finger). I also examined the
17
     modified source code provided by Samsung.
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     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S REPLY ISO PERMANENT INJUNCTION MOTION
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     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S REPLY ISO PERMANENT INJUNCTION MOTION
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     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S REPLY ISO PERMANENT INJUNCTION MOTION
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            32.     For the above reasons, it is my opinion that Samsung devices with the modified
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     code still literally infringe claim 8[c]. Each is a machine readable medium containing
28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S REPLY ISO PERMANENT INJUNCTION MOTION
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 1   instructions that “determin[e] whether the event object invokes a scroll or gesture operation by
 2   distinguishing between a single input point applied to the touch-sensitive display that is
 3   interpreted as the scroll operation and two or more input points applied to the touch-sensitive
 4   display that are interpreted as the gesture operation.”
 5   VI.    DOCTRINE OF EQUIVALENTS INFRINGEMENT OF THE ’915 PATENT
 6          33.     To the extent that this limitation is not met literally, in my opinion it is met under
 7   the doctrine of equivalents because each of the Samsung devices with the modified code is a
 8   machine readable medium containing instructions that perform steps insubstantially different
 9   from “determining whether the event object invokes a scroll or gesture operation by
10   distinguishing between a single input point applied to the touch-sensitive display that is
11   interpreted as the scroll operation and two or more input points applied to the touch-sensitive
12   display that are interpreted as the gesture operation.”
13          34.     I understand that Mr. Gray asserts the doctrine of prosecution history estoppel
14   prevents me from applying the doctrine of equivalents. I also understand that there are exceptions
15   to the doctrine of prosecution history estoppel, such as where the reason for the narrowing
16   amendment was peripheral, or not directly relevant, to the alleged equivalent.
17          35.     In my opinion, the reasons for the narrowing amendment were peripheral and not
18   directly relevant to the alleged equivalent.
19

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23          36.     Mr. Gray refers to a telephone interview between Apple’s counsel and the
24   Examiner. (Gray Decl. at ¶ 25.) At that interview, Apple’s counsel authorized an amendment to
25   the claim language because “the combined [prior art] references fail to teach or suggest creating
26   an event object that determines whether a user input applied to a touchscreen invokes a scroll
27   operation or a gesture operation by simply distinguishing between the scroll operation and the
28   gesture operation without having to select an object or icon to define the operation.” Interview
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S REPLY ISO PERMANENT INJUNCTION MOTION
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 1   Summary, 6/21/2010 (emphasis added). The applicant’s reason for amendment was to indicate
 2   that the determination of whether to invoke a scroll or gesture operation was not based on
 3   selecting a predefined object or area.
 4          37.     Mr. Gray also refers to the Li and Hollemans prior art references in his
 5   Declaration. The examiner distinguished these prior art references because they required the user
 6   to use a predefined area of the touchscreen,
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18                                I analyze the doctrine of equivalents in the following paragraphs.
19          38.     It is my opinion that the Samsung products with the modified code perform
20   substantially the same function, in substantially the same way, to achieve substantially the same
21   result as the ’915 patent.
22          39.     First, it is my opinion that the modified code performs substantially the same
23   function as the recited limitation. The function of the limitation is “determining whether the
24   event object invokes a gesture operation by distinguishing between a single input point applied to
25   the touch-sensitive surface display that is interpreted as the scroll operation and two or more input
26   points applied to the touch-sensitive display that are interpreted as the gesture operation.” (’915
27   patent claim 8[c] (emphasis added).) In the context of the ’915 patent specification and claim 8,
28   the function is determining whether a scroll or gesture operation should execute based on
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S REPLY ISO PERMANENT INJUNCTION MOTION
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 1   distinguishing between one or two or more user input points in the event object. The functions
 2   are the same.
 3          40.      Second, the modified code performs this function in substantially the same way as
 4   in the claim limitation.
 5

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10          41.      Finally, the modified code obtains substantially the same result, i.e., the execution
11   of either the scroll operation or gesture operation code, depending on whether there is a single
12   input point or two or more input points.
13          42.      For the above reasons, it is my opinion that the Samsung devices with the
14   modified code continue to infringe claim 8[c] under the doctrine of equivalents as each is a
15   machine readable medium containing instructions that perform the equivalent of “determining
16   whether the event object invokes a scroll or gesture operation by distinguishing between a single
17   input point applied to the touch-sensitive display that is interpreted as the scroll operation and two
18   or more input points applied to the touch-sensitive display that are interpreted as the gesture
19   operation.”
20          I declare under penalty of perjury under the laws of the United States of America that the
21   foregoing is true and correct. Executed on the 9th day of November 2012.
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